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                                                                                            United States District Court
                                                                                              Southern District of Texas

                                                                                                 ENTERED
UNITED STATES DISTRICT COURT                                        SOUTHERN DISTRICT OF TEXAS
                                                                                       August 11, 2023
                                                                                              Nathan Ochsner, Clerk

                   Motion and Order for Admission Pro Hac Vice

      Division         Victoria                             Case Number               6:23-cv-00007
                                           State of Texas, et al.


                                                   versus
                            U.S. Department of Homeland Security, et al.



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       Federal Bar & Number


 Name of party applicant seeks to                              Proposed Amici States
 appear for:


                                                                                  ✔
 Has applicant been sanctioned by any bar association or court? Yes _______ No ________

 On a separate sheet for each sanction, please supply the full particulars.


 Dated:       8/10/2023        Signed:                         /s/ Stephen J. Yanni



 The state bar reports that the applicant’s status is: Eligible to Practice


 Dated: 8/11/2023              Clerk’s signature s/ Stacie Marthiljohni



              Order
                                                  This lawyer is admitted pro hac vice.

Dated:       August 11, 2023
                                                            United States District Judge
